Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                        Case No. 1:22-cv-24023-SCOLA/GOODMAN

   KENNETH C. GRIFFIN,               )
                                     )
          Plaintiff,                 )
                                     )
     v.                              )
                                     )
   INTERNAL REVENUE SERVICE, et al., )
                                     )
          Defendants.                )
                                     )

                DEFENDANTS’ MEMORANDUM OF LAW
       REGARDING LAW ENFORCEMENT INVESTIGATORY PRIVILEGE

         The United States submits this memorandum of law in accordance with the

  Court’s Post-Discovery Hearing Administrative Order (ECF. No. 63) and represents that

  it does not intend to assert the investigatory privilege at this time. But the information

  gathered by the Treasury Inspector General for Tax Administration (“TIGTA”) in its

  investigation of Charles Edward Littlejohn for the unauthorized disclosure of tax return

  information of Plaintiff and others is Mr. Littlejohn’s return information. 26 U.S.C.

  § 6103(b)(2); Berkun v. Comm’r of Internal Rev., T.C. Memo 2023-127, 2023 WL

  6973206, at *6 (Oct. 23, 2023). Thus, TIGTA’s investigative file may not be disclosed to

  Plaintiff in discovery, unless the disclosure is authorized by § 6103. 26 U.S.C. § 6103(a).

         While undersigned counsel was unaware of an investigation of Mr. Littlejohn until

  it was publicly announced in an Information on September 29, 2023, the United States

  alerted Plaintiff at the outset of this case that the existence and substance of any
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 2 of 7




  investigation of the ProPublica leak constituted third-party return information that was

  prohibited from disclosure by § 6103. 1 (ECF No. 29 ¶¶ I.K, II.B). We maintained this

  position in our discovery responses and asserted—as a protective measure to avoid any

  argument of waiver—that certain materials in the (yet unknown) investigative file may be

  protected by common law privileges, including the law enforcement investigatory

  privilege. The United States did not provide a privilege log because the attorneys

  assigned to this matter lacked access to TIGTA’s file and, in any event, Plaintiff

  expressly stated that they did not seek the investigative file. For these reasons, the

  investigative file was not in the possession, custody, or control of the United States as

  defined in Plaintiff’s discovery requests, nor was the investigative file responsive to his

  requests.

         Although Plaintiff makes no attempt to argue that the investigative file may be

  disclosed to him under § 6103, Plaintiff questions the applicability of the United States’

  protective claim to the investigative privilege. Thus, as directed by the Court, the United

  States submits this brief to address whether the privilege exists, the particular documents

  or categories of documents the privilege covers, and whether a traditional privilege log is

  required for materials covered by the privilege.




  1
    We also invited Plaintiff to join our request for an initial discovery conference with the Court to
  address this issue before discovery commenced. Plaintiff declined. See ECF 29 at 4 (comparing
  the United States’ and Plaintiff’s positions on the subject and timing of discovery).
                                                   2
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 3 of 7




                                         ARGUMENT

  I.     Courts Recognize the Law Enforcement Investigatory Privilege

         Courts throughout the country all agree. A qualified law enforcement investigatory

  privilege exists to protect “disclosure of law enforcement techniques and procedures, to

  preserve the confidentiality of sources, to protect witness and law enforcement personnel,

  to safeguard the privacy of individuals involved in an investigation, and otherwise

  prevent interference with an investigation.” Dinler v. City of New York, 607 F.3d 923,

  940-41 (2d Cir. 2010) (citation and quotation omitted); see also United States v. Van

  Horn, 789 F.2d 1492, 1507 (11th Cir. 1986). Indeed, this Court recognized the privilege

  in Federal Election Commisson v. Rivera, 335 F.R.D. 541, 547 (S.D. Fla. 2020)

  (Goodman, M.J.).

         Just as the privilege applied to the FEC as an investigatory agency in Rivera, the

  privilege applies to TIGTA, which is an investigative office within the Department of

  Treasury, and any other offices within the Treasury Department and IRS that conduct

  civil and criminal investigation. Id. Thus, TIGTA’s investigative file of Mr. Littlejohn is

  protected from disclosure by this privilege unless Plaintiff shows that, on balance, his

  need for the information outweighs the Government’s interest in protecting the files from

  disclosure. Id. at 547-48 (listing ten factors that courts consider to determine whether the

  privilege applies). That is, however, an academic question because TIGTA’s

  investigative file is Mr. Littlejohn’s return information, and Plaintiff can cite no

  authorization in § 6103 that permits its disclosure in response to his discovery requests.



                                                3
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 4 of 7




  II.    The Law Enforcement Investigatory Privilege Applies to at Least Three
         Categories of Documents within TIGTA’s File

         As noted in the introduction, counsel for the United States did not have access to

  TIGTA’s file when it responded to Plaintiff’s first requests for production. After the

  November 28th hearing, undersigned counsel received permission to speak with TIGTA

  agents about the investigation of Mr. Littlejohn to determine where potentially responsive

  information to Plaintiff’s discovery requests may be found from sources outside of

  TIGTA.

         Based on conversations with TIGTA personnel, we contend that the privilege

  applies to at least three categories of documents within TIGTA’s files. The first category

  of privileged documents concerns techniques, methods, and processes used to analyze

  potential unauthorized access at the IRS. The second category of privileged documents

  concerns details of IRS security audit, logging, and monitoring systems that, if publicly

  known, might enable circumvention of portions of these systems. And the third category

  of privileged documents concerns techniques for circumventing IRS information system

  security measures.

         Plaintiff has no need for any materials that fall within these three categories of

  documents. Documents that reveal TIGTA’s investigative techniques are not relevant to

  either of his claims. And, in any event, the source of the disclosure of his return

  information is now known. If Plaintiff’s second amended complaint survives the United

  States’ motion to dismiss, discovery should be limited to discrete factual issues that

  remain unresolved.


                                                4
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 5 of 7




  III.   A Privilege Log Is Not Required for Non-Responsive Documents

         Local Rule 26(e)(2)(B) requires a privilege log for documents withheld under a

  claim of privilege. However, a party withholds a document for privilege only if the

  document is responsive. Here, Plaintiff has repeatedly stated that he does not seek

  TIGTA’s investigative file. Indeed, Plaintiffs recently advised Government counsel that

  “the information sought in Plaintiff’s set of discovery requests exists independently of

  any investigative file, and Plaintiff’s pending requests do not seek any investigative

  materials at this time—e.g., interview memoranda, law enforcement documents, etc.”

  Exhibit A, Letter from Plaintiff’s counsel dated Nov. 24, 2023. Plaintiff maintained this

  position at the November 28th hearing, informing the Court that he does not seek the

  Government’s investigative file and instead seeks responsive documents that exist

  independent of the investigative file.

         As Plaintiff unambiguously states, the TIGTA file that would otherwise implicate

  the investigatory privilege is not responsive to any pending discovery request. As non-

  responsive information, the United States has no obligation to provide a privilege log of

  its contents. If Plaintiff issues a specific discovery request for TIGTA’s file, the United

  States will assert the privilege as necessary and provide a log in accordance with the

  Local Rules.




                                                5
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 6 of 7




  Dated: December 5, 2023                  Respectfully Submitted

                                           DAVID A. HUBBERT
                                           Deputy Assistant Attorney General

                                           Mary Elizabeth Smith
                                           MARY ELIZABETH SMITH
                                           Maryland Bar No. 0712110235
                                           STEPHANIE A. SASARAK
                                           Maryland Bar No. 1012160096
                                           Trial Attorneys, Tax Division
                                           U.S. Department of Justice
                                           P.O. Box 14198
                                           Washington, D.C. 20044
                                           202-307-2089 (v) | 202-514-4963 (f)
                                           Mary.E.Smith@usdoj.gov
                                           Stephanie.A.Sasarak@usdoj.gov

                                           Counsel for the United States

                                           Of counsel:
                                           MARKENZY LAPOINTE
                                           United States Attorney
                                           Southern District of Florida




                                       6
Case 1:22-cv-24023-RNS Document 70 Entered on FLSD Docket 12/05/2023 Page 7 of 7




                               CERTIFICATE OF SERVICE

         I hereby certify that on December 5, 2023, I filed a copy of the foregoing

  document with the Clerk of Court using the CM/ECF system, which will send

  notification to counsel of record.


                                                  Mary Elizbeth Smith
                                                  MARY ELIZABETH SMITH
                                                  Trial Attorney
                                                  U.S. Dept. of Justice, Tax Division




                                              7
